           Case 2:10-cr-00211-GEB Document 319 Filed 06/25/12 Page 1 of 2


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4    Email: LawOffice.mbigelow@gmail.com
5    Attorney for Defendant
     Anjenette Brown
6
                     IN THE UNITED STATES DISTRICT COURT
7
                IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,         )   Case No. Cr.S-10-211 KJN
10                                     )
                Plaintiff,             )   STIPULATION AND ORDER
11                                     )   CONTINUING SENTENCE
          vs.                          )
12                                     )
                                       )
13   ANJENETTE BROWN, et al.,          )
                                       )
14              Defendant              )
                                       )
15

16
          It is hereby stipulated between the parties that sentencing
17
     in this matter be continued to August 29, 2012. This continuance
18

19
     is necessitated by the fact that the defendant has a medical

20   procedure scheduled on June 27, 2012, and is necessitated as

21   well by other scheduling issues, including vacations, trial

22   schedules and this Court’s availability.

23        Dated: June 25, 2012                Respectfully submitted,
24                                            /s/MICHAEL B. BIGELOW
                                              Michael B. Bigelow
25
                                              Attorney for Defendant



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                           Case 2:10-cr-00211-GEB Document 319 Filed 06/25/12 Page 2 of 2


1    IT IS SO STIPULATED
2
     DATED: June 25, 2012                                     /s/MICHAEL B. BIGELOW
3
                                                              Attorney for Defendant Brown
4

5    DATED: June 25, 2012                                     /s/JARED DOLAN
                                                              Assistant United States Attorney
6

7                                               IT IS SO ORDERED

8

9    Date:                  6/25/2012
10                                                     __________________________________
                                                       KENDALL J. NEWMAN
11
                                                       UNITED STATES MAGISTRATE JUDGE
12   DEAC_Signature-END:




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     ad4mc0d
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